Case 2:04-Cr-20264-BBD Document 45 Filed 08/17/05 Page 1 of 3 Page|D 60

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IN THE UNITED sTATEs DISTRICT coURT -- f » -
FoR THE WESTERN DIsTRlcT oF TENNESSEE 2035 _
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CLEH<, U..g, “,"
UNITED sTATEs oF AMERICA, ) \i.,;@ @; ix kim 0
)
Plaintiff, ) Cr. No. 94-29264 D
)
vs. )
)
PRANK sEA, )
)
Defenda.nt. )

 

THIRD MOTION FOR CONTINUANCE

 

§ 23

COMES NOW, FRANK SEA, by and through Williarn C. Gosnell, Attorney At Law,
and request that the court date set for August 15, 2005 be continued for thirty (3 0) days.

The grounds for this motion is that the Defendant’S Attomey is requesting a continuance

to attend a funeral of a close personel friend.

RESPECTFULLY SUBMITTED,

        
 

 

Memphis, Tennessee 38105
(901) 521-1455

\_ MoTloN WILLIAM C. GOSNE - # 4369
5 D G ANTED Attomey At LaW
q 245 Excha.nge Ave.
" ERNlcE BoulE ooNALo

U.S. DiSTRlCT JUDGE

' \
Thfs document entered on the docket sheet |n compliance
with sure as answer sz(b) wch on ' 3 '

Case 2:04-Cr-20264-BBD Document 45 Filed 08/17/05 Page 2 of 3 Page|D 61

'I`E ICE

I, William C. Gosnell, do hereby certify that a true and correct copy of the foregoing
Motion has been delivered by U.S. Mail, postage prepaid, to the U.S. Attomey’s Oche on this

the_l_ZIh_daYOf_AM_,ZOOS. w d W/

William C. Gosnell

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 45 in
case 2:04-CR-20264 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

ENNESSEE

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Williarn C. Gosnell

LAW OFFICE OF WILLIAM C. GOSNELL
245 EXchange Ave.

Memphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

